
13 N.Y.2d 836 (1963)
In the Matter of the Accounting of Robert C. Utter et al., as Administrators of The Estate of Anna M. Utter, Deceased, Respondents. Joe Schapiro, as Attorney for David B. Utter, Appellant.
Court of Appeals of the State of New York.
Submitted May 29, 1963.
Decided July 10, 1963.
Joe Schapiro, appellant, pro se.
Nelson L. Neidhardt for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, FOSTER and SCILEPPI.
Order affirmed, without costs; no opinion.
